     Case 6:23-ap-01033-WJ     Doc 10 Filed 07/13/23 Entered 07/13/23 12:18:24            Desc
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 3                                                              FILED & ENTERED
 4
                                                                      JUL 13 2023
 5
                                                                 CLERK U.S. BANKRUPTCY COURT
 6                                                               Central District of California
                                                                 BY gooch      DEPUTY CLERK
 7

 8                                 UNITED STATES BANKRUPTCY COURT

 9                                 CENTRAL DISTRICT OF CALIFORNIA

10                                         RIVERSIDE DIVISION

11

12      In re:                                      Case No.: 6:23-bk-10960-WJ

13      JARED HUNTER SCARTH,                        CHAPTER 13

14                             Debtor.              Adv. Case No. 6:23-ap-01033-WJ

15
        JARED HUNTER SCARTH,                        ORDER TO SHOW CAUSE REGARDING
16                                                  WHY THIS ADVERSARY PROCEEDING
                             Plaintiff,             SHOULD NOT BE DISMISSED
17
                              v.
18                                                  Status Conference:
        TODD TUROCI,                                Date: July 13, 2023
19      CHRISTOPHER J. TUROCI,                      Time: 10:30 a.m.
        WESTERN STAR FINANCIAL, INC.,               Place: United States Bankruptcy Court
20      PROMINENCE CAPITAL PARTNERS, LLC,                  Courtroom 304
                                                           3420 Twelfth Street
21                           Defendants.                   Riverside, CA 92501
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 1              On July 13, 2023 at 10:30 a.m., the Court held the initial status conference in this adversary

 2      proceeding. Neither the plaintiff nor counsel for the plaintiff appeared.

 3              Accordingly, the Court hereby ORDERS, ADJUDGES and DECREES:

 4              1.      Pursuant to Local Bankruptcy Rule 7016-1(g), the Court hereby issues this order to

 5      show cause (“OSC”) regarding why this adversary proceeding should not be dismissed without

 6      prejudice due to the failure of the plaintiff to prosecute the matter.

 7              2.      The hearing regarding the OSC shall be held on August 24, 2023 at 1:30 p.m.

 8              3.      The continued status conference shall be held on August 24, 2023 at 1:30 p.m.

 9              4.      Counsel for the plaintiff and the plaintiff are ordered to appear on August 24, 2023

10      at 1:30 p.m. Failure to appear will result in the Court dismissing the action.

11              5.      If the plaintiff opposes dismissal of the action, the plaintiff must file written

12      opposition to the OSC no later than August 10, 2023. Failure to timely oppose will result in the

13      Court dismissing the action.

14      IT IS SO ORDERED.

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         Date: July 13, 2023
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